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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                        No. 1:21-cv-02900-CJN
         v.

HERRING NETWORKS, INC., d/b/a ONE                     Judge Carl J. Nichols
AMERICA NEWS NETWORK

                   Defendant.

                       AMENDED CONFIDENTIALITY AGREEMENT AND
                               PROTECTIVE ORDER

         This matter having come before the Court by stipulation of Plaintiffs Smartmatic USA

Corp., Smartmatic International Holding B.V., and SGO Corporation Limited, and Defendant

Herring Networks Inc. (individually “Party” and collectively “Parties”) for the entry of a protective

order pursuant to Federal Rules of Civil Procedure 5.2 and 26(c) limiting the review, copying,

dissemination and filing of confidential and/or proprietary documents and information to be

produced by any party and their respective counsel or by any non-party in the course of discovery

in this matter to the extent set forth below; and the parties, by, between and among their respective

counsel, having stipulated and agreed to the term set forth herein, and good cause having been

shown;

         It is hereby ORDERED that:

         1.     This Order is being entered into to facilitate the production, exchange and discovery

of documents and information that the Parties and, as appropriate, non-parties, agree merit

confidential treatment (hereinafter the “Documents” or “Testimony”).

         2.     Any Party or, as appropriate, non-party, may designate Documents produced, or

Testimony given, in connection with this action as “confidential” or “highly confidential -



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attorney’s eyes only” either by notation on each page of the Document so designated, statement

on the record of the deposition, or written advice to the respective undersigned counsel for the

Parties hereto, or by other appropriate means.

       3.      As used herein:

               (a)    “Confidential Information” shall mean all Documents and Testimony, and

       all information contained therein, and other information designated as confidential, if such

       Documents or Testimony contain trade secrets, proprietary business information,

       competitively sensitive information or other information the disclosure of which would, in

       the good faith judgment of the Party or, as appropriate, non-party designating the material

       as confidential, be detrimental to the conduct of that Party’s or non-party’s business or the

       business of any of that Party’s or non-party’s customers or clients.

               (b)    “Highly Confidential - Attorney’s Eyes-Only Information” shall mean any

       “Confidential Information” that is of such a private, sensitive, competitive or proprietary

       nature that present disclosure to persons other than those identified in paragraph 5.1 below

       would reasonably be expected to cause irreparable harm or materially impair the legitimate

       competitive position or interests of the Producing Party. A designation of Confidential

       Information as Attorney’s Eyes-Only Information constitutes a representation that such

       Confidential Information has been reviewed by an attorney for the Producing Party and

       that it is the attorney’s position that there is a valid basis for such a designation. To the

       extent source code is determined to be relevant and discoverable, the Parties will meet and

       confer regarding terms and entry of a separate protective order for the source code before

       any is permitted to be inspected.




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               (c)     “Producing Party” shall mean the Party to this action and any non-party

       producing “Confidential Information” or “Highly Confidential - Attorney’s Eyes-Only

       Information” in connection with depositions, document production, or otherwise.

               (d)     “Receiving Party” shall mean the Party to this action and/or any non-party

       receiving “Confidential Information” or “Highly Confidential - Attorney’s Eyes-Only

       Information” in connection with depositions, document production, subpoenas, or

       otherwise.

       4.      The Receiving Party may, at any time, notify the Producing Party that the Receiving

Party does not concur in the designation of a document or other material as “Confidential

Information” or “Highly Confidential - Attorney’s Eyes-Only Information.” If the Producing Party

does not agree to declassify such document or material within seven (7) days of the written request,

the Receiving Party may move before the Court for an order declassifying those documents or

materials. If no such motion is filed, such documents or materials shall continue to be treated as

Confidential Information or Highly Confidential - Attorney’s Eyes- Only Information. If such

motion is filed, the documents or other materials shall be deemed as designated by the Producing

Party unless and until the Court rules otherwise. Notwithstanding anything herein to the contrary,

the Producing Party bears the burden of establishing the propriety of its designation of documents

or information as Confidential Information or Highly Confidential - Attorney’s Eyes-Only

Information.

       5.      Except with the prior written consent of the Producing Party or by Order of the

Court, Confidential Information shall not be furnished, shown or disclosed to any person or entity

except to:




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         (a)     personnel of the Parties actually engaged in assisting in the preparation of

 this action for trial or other proceeding herein and who have been advised of their

 obligations hereunder;

         (b)     counsel for the Parties to this action and their associated attorneys

 (including in-house and outside counsel), paralegals and other professional and

 nonprofessional personnel (including support staff and outside copying services) who are

 directly assisting such counsel in the preparation of this action for trial or other proceeding

 herein, are under the supervision or control of such counsel, and who have been advised

 by such counsel of their obligations hereunder;

         (c)     expert witnesses, investigators, or consultants retained by the Parties or their

 counsel to furnish technical or expert services in connection with this action or to give

 testimony with respect to the subject matter of this action at the trial of this action or other

 proceeding herein; provided, however, that such Confidential Information is furnished,

 shown or disclosed in accordance with paragraph 7 hereof;

         (d)     the Court and court personnel;

         (e)     an officer before whom a deposition is taken, including stenographic

 reporters and any necessary secretarial, clerical or other personnel of such officer;

         (f)     trial and deposition witnesses, if furnished, shown, or disclosed in

 accordance with paragraphs 9 and 10, respectively, hereof;

         (g)     jury consultants and mock jurors, if any;

         (h)     persons who appear as an author or recipient on the face of the document to

 be disclosed; and

         (i)     any other person agreed to by the Producing Party.




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       5.1     Except with the prior written consent of the Producing Party or by Order of the

Court, Highly Confidential - Attorney’s Eyes-Only Information shall not be furnished, shown or

disclosed to any person or entity except to those identified in paragraph 5(b)–5(g).

       6.      Confidential Information or Highly Confidential - Attorney’s Eyes-Only

Information shall be utilized by the Receiving Party and its counsel only for purposes of this

litigation and for no other purposes.

       7.      Before any disclosure of Confidential Information or Highly Confidential -

Attorney’s Eyes-Only Information is made to an expert witness or consultant pursuant to paragraph

5 (c) thereof, counsel for the Receiving Party making such disclosure shall provide to the expert

witness or consultant a copy of this Order and obtain the expert’s or consultant’s written

agreement, in the form of Exhibit A attached hereto, to comply with and be bound by its terms.

Counsel for the Receiving Party obtaining the certificate shall supply a copy to counsel for the

other Parties at the time designated for expert disclosure, except that any certificate signed by an

expert or consultant who is not expected to be called as a witness at trial is not required to be

supplied.

       8.      Unless otherwise designated during the deposition, all depositions shall

presumptively be treated as Confidential Information and subject to this Order during the

deposition and for a period of thirty (30) days after a transcript of said deposition is received by

counsel for each of the Parties. At or before the end of such thirty-day period, the deposition shall

be classified appropriately.

       9.      Should the need arise for any Party or, as appropriate, non-party, to disclose

Confidential Information or Highly Confidential - Attorney’s Eyes-Only Information during any

hearing or trial before the Court, including through argument or the presentation of evidence, such




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Party or, as appropriate, non-party may do so only after taking such steps as the Court, upon motion

of the Producing Party, shall deem necessary to preserve the confidentiality of such Confidential

Information or Highly Confidential - Attorney’s Eyes-Only Information.

       10.     This Order shall not preclude counsel for any Party from using during any

deposition in this action any Documents or Testimony which has been designated as “Confidential

Information” or Highly Confidential - Attorney’s Eyes-Only Information under the terms hereof.

Any deposition witness who is given access to Confidential Information or Highly Confidential -

Attorney’s Eyes-Only Information shall, prior thereto, be provided with a copy of this Order and

shall execute a written agreement, in the form of Exhibit A attached hereto, to comply with and be

bound by its terms. Counsel for the Party obtaining the certificate shall supply a copy to counsel

for the other Parties and, as appropriate, a non-party that is a Producing Party. In the event that,

upon being presented with a copy of the Order, a witness refuses to execute the agreement to be

bound by this Order, the Court shall, upon application, enter an order directing the witness’s

compliance with the Order.

       11.     A Party may designate as Confidential Information or Highly Confidential -

Attorney’s Eyes-Only Information subject to this Order any document, information, or deposition

testimony produced or given by any non-party to this case, or any portion thereof. In the case of

Documents produced by a non-party, designation shall be made by notifying all counsel in writing

of those documents which are to be stamped and treated as such at any time up to thirty (30) days

after actual receipt of copies of those documents by counsel for the Party asserting the

confidentiality privilege. In the case of deposition Testimony, designation shall be made by

notifying all counsel in writing of those portions which are to be stamped or otherwise treated as

such at any time up to fourteen (14) days after the transcript is received by counsel for the Party




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(or, as appropriate, non-party) asserting the confidentiality. Prior to the expiration of such

applicable period of time (or until a designation is made by counsel, if such a designation is made

in a shorter period of time), all such Documents and Testimony shall be treated as Confidential

Information.

       12.

               (a)    A Party or, as appropriate, non-party, who seeks to file with the Court (i)

       any deposition transcripts, exhibits, answers to interrogatories, or other documents which

       have previously been designated as comprising or containing Confidential Information or

       Highly Confidential - Attorney’s Eyes-Only Information, or (ii) any pleading, brief or

       memorandum which reproduces, paraphrases or discloses Confidential Information or

       Highly Confidential - Attorney’s Eyes-Only Information shall initially file the document,

       pleading, brief, or memorandum on the Court’s ECF system in redacted form, or with a

       “Request to Seal” designation on Court’s ECF system, until the Court renders a decision

       on any motion to seal (the “Redacted Filing”). It is the responsibility of the Party seeking

       to seal the Redacted Filing to make a timely motion to seal in accordance with the

       procedures that govern the filing of sealed documents on the Court’s ECF system.

               (b)    In the event that the Party’s (or, as appropriate, non-party’s) filing includes

       Confidential Information or Highly Confidential - Attorney’s Eyes-Only Information

       produced by a Producing Party that is a non-party, the filing Party shall so notify that

       Producing Party within twenty-four (24) hours after the Redacted Filing by providing the

       Producing Party with a copy of the Redacted Filing as well as a version of the filing with

       the relevant Producing Party’s Confidential Information or Highly Confidential -

       Attorney’s Eyes-Only Information unredacted.




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               (c)    If the motion to seal is granted, the moving Party (or, as appropriate, non-

       party) shall ensure that all documents (or, if directed by the court, portions of documents)

       that are the subject of the order to seal are filed in accordance with the procedures that

       govern the filing of sealed documents on the Court’s ECF system. If the motion to seal is

       denied, then the Party (or, as appropriate, non-party) making the filing shall take steps to

       replace the Redacted Filing with its corresponding unredacted version, or have the

       “Request to Seal” designation removed.

               (d)    Any Party filing a Redacted Filing in accordance with the procedure set

       forth in this paragraph 12 shall, contemporaneously with or prior to making the Redacted

       Filing, provide the other Parties and the Court with a complete and unredacted version of

       the filing.

               (e)    All pleadings, briefs or memoranda which reproduce, paraphrase or disclose

       any materials which have previously been designated by a party as comprising or

       containing Confidential Information or Highly Confidential - Attorney’s Eyes-Only

       Information shall identify such documents by the production number ascribed to them at

       the time of production.

       13.     Any person receiving Confidential Information or Highly Confidential - Attorney’s

Eyes-Only Information shall not reveal or discuss such information to or with any person not

entitled to receive such information under the terms hereof and shall use reasonable measures to

store and maintain the Confidential Information or Highly Confidential - Attorney’s Eyes-Only

Information so as to prevent unauthorized disclosure.

       14.     Any document or information that may contain Confidential Information or Highly

Confidential - Attorney’s Eyes-Only Information that has been inadvertently produced without




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identification as to its “confidential” nature as provided in paragraphs 2 and/or 11 of this Order,

may be so designated by the Party asserting the confidentiality privilege by written notice to the

undersigned counsel for the Receiving Party identifying the document or information as

“confidential” within a reasonable time following the discovery that the document or information

has been produced without such designation.

       15.     Extracts and summaries of Confidential Information or Highly Confidential -

Attorney’s Eyes-Only Information shall also be treated with the same level of confidentiality as

the designated information from which it was derived.

       16.     Except as provided in this paragraph, following a Party’s production or disclosure

of Confidential Information or Highly Confidential - Attorney’s Eyes Only Information, the

inadvertent failure to designate particular Documents as “Confidential” or “Highly Confidential -

Attorney’s Eyes Only Information” at the time of production or disclosure shall not operate to

waive a Party’s right to later designate such Documents as “Confidential” or “Highly Confidential

- Attorney’s Eyes Only Information,” provided that, at the time of making the later designation,

the Party provides the Receiving Party with a replacement copy of the Documents that are properly

marked as “Confidential Information” or “Highly Confidential - Attorney’s Eyes-Only

Information” in accordance with paragraph 2 of this Protective Order. No Party or third party shall

be deemed to have violated this Protective Order if, prior to notification of any later designation,

such Documents had been disclosed or used in a manner inconsistent with the later designation.

Once such a designation has been made, the relevant Documents shall be treated as Confidential

Information or Highly Confidential - Attorney’s Eyes-Only Information in accordance with the

Protective Order; provided, however, that if the Documents that were inadvertently not designated

are, at the time of the later designation, filed with a court on the public record, the Party or third




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party that failed to make the designation shall move for appropriate relief. If an inadvertently

omitted Confidential Information or Highly Confidential - Attorney’s Eyes-Only Information

designation is first claimed on the record during the course of a deposition, hearing, or other court

proceeding, the subject Documents may be used throughout the deposition, hearing, or proceeding

and should be treated as though a Confidential Information or Highly Confidential - Attorney’s

Eyes-Only Information had been made at the time of disclosure.

       17.     This Order is entered into without prejudice to the right of any Party or nonparty to

seek relief from, or modification of, this Order or any provisions thereof by properly noticed

motion to the Court or to challenge any designation of confidentiality as inappropriate under the

Federal Rules of Civil Procedure or other applicable law.

       18.     This Order shall continue to be binding after the conclusion of this litigation except

that there shall be no restriction on documents that are used as exhibits in Court (unless such

exhibits were filed under seal); and (b) that a Receiving Party may seek the written permission of

the Producing Party or further order of the Court with respect to dissolution or modification of the

Order. The provisions of this Order shall, absent prior written consent of the parties, continue to

be binding after the conclusion of this action.

       19.     In connection with their review of electronically stored information and hard copy

documents for production (the “Documents Reviewed”) the Parties agree as follows:

               (a)     to implement and adhere to reasonable procedures to ensure Documents

       Reviewed that are protected from disclosure pursuant to Federal Rules of Civil Procedure

       5.2 and 26(c) are identified and withheld from production.

               (b)     if information protected from disclosure pursuant to Federal Rules of Civil

       Procedure 5.2 or 26(c) (“Protected Information”) is inadvertently produced, the Producing




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        Party shall take reasonable steps to correct the error, including a request to the Receiving

        Party for its return.

                (c)     upon request by the Producing Party for the return of Protected Information

        inadvertently produced, the Receiving Party shall promptly return the Protected

        Information and destroy all copies thereof. Furthermore, the Receiving Party shall not

        challenge either the adequacy of the Producing Party’s document review procedure or its

        efforts to rectify the error, and the Receiving Party shall not assert that its return of the

        inadvertently produced Protected Information has caused it to suffer prejudice.

        20.     Within sixty (60) days after the final termination of this litigation by settlement or

exhaustion of all appeals, all Confidential Information or Highly Confidential - Attorney’s Eyes-

Only Information produced or designated and all reproductions and derivatives thereof shall be

returned to the Producing Party or, at the Receiving Party’s option, shall be destroyed. In the event

that any Receiving Party chooses to destroy physical objects and documents, such Party shall

certify in writing within sixty (60) days of the final termination of this litigation that it has

undertaken its best efforts to destroy such physical objects and documents, and that such physical

objects and documents have been destroyed to the best of its knowledge. Notwithstanding anything

to the contrary, counsel of record for the Parties may retain one copy of documents constituting

work product, a copy of pleadings, motion papers, discovery responses, deposition transcripts and

deposition and trial exhibits. This Order shall not be interpreted in a manner that would violate any

applicable rules of professional conduct. Nothing in this Order shall prohibit or interfere with the

ability of counsel for any Receiving Party, or of experts specially retained for this case, to represent

any individual, corporation or other entity adverse to any Party or non-party or their affiliate(s) in

connection with any other matter.




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        21.     If a Receiving Party is called upon to produce Confidential Information or Highly

Confidential - Attorney’s Eyes-Only Information in order to comply with a court order, subpoena,

or other direction by a court, administrative agency, or legislative body, the Receiving Party from

which the Confidential Information or Highly Confidential - Attorney’s Eyes-Only Information is

sought shall (a) give written notice by email to the counsel for the Producing Party within five (5)

business days of receipt of such order, subpoena, or direction, and (b) give the Producing Party ten

(10) business days to object to the production of such Confidential Information or Highly

Confidential - Attorney’s Eyes-Only Information, if the Producing Party so desires.

Notwithstanding the foregoing, nothing in this paragraph shall be construed as requiring any party

to this Order to subject itself to any penalties for noncompliance with any court order, subpoena,

or other direction by a court, administrative agency, or legislative body.

        22.     In the event additional Parties join or are joined in this litigation, they will not have

access to Confidential Information or Highly Confidential - Attorney’s Eyes-Only Information

until the newly joined Party by its counsel has executed this Order and filed with the Court its

agreement to be fully bound by it.

        23.     Subject to the requirements of Federal Rules of Civil Procedure 5.2(e) and 26, the

provisions of this Order will, absent written permission of the designating party or further order of

the Court, continue to be binding throughout and after the conclusion of this litigation, including,

without limitation, any appeals therefrom, except as provided in Paragraph 20.

        24.     This Order may be changed by further order of this Court, and is without prejudice

to the rights of a Party to move for relief from any of its provisions, or to seek or agree to different

or additional protection for any particular material or information.




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       25.     This Order may be signed in counterparts, which, when fully executed, shall

constitute a single original, and electronic signatures shall be deemed original signatures.

       26.     This Order amends, replaces and otherwise supersedes the Confidentiality

Agreement and Protective Order entered by the Court on September 26, 2022.

SO ORDERED this 16 day of December 2022.

                                              ____________________
                                              Carl J. Nichols
                                              United States District Judge




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                                           EXHIBIT A


       I, ______________________________, state that:

       1.      My address is ___________________________________________________.

       2.      My present occupation or job description is ____________________________.

       3.      I have received a copy of the Protective Order Governing the Production and

Exchange of Confidential Information (the “Order”) entered in the above-entitled action on

_________.

       4.      I have carefully read and understand the provisions of the Order.

       5.      I will comply with all of the provisions of the Order.

       6.      I will hold in confidence, will not disclose to anyone not qualified under the Order,

and will use only for purposes of this action, any Confidential Information or Highly Confidential

- Attorney’s Eyes-Only Information that is disclosed to me.

       7.      I will return all Confidential Information or Highly Confidential - Attorney’s Eyes

Only Information that comes into my possession, and documents or things that I have prepared

relating thereto, to counsel for the party by whom I am employed or retained, or to counsel from

whom I received the Confidential Information or Highly Confidential - Attorney’s Eyes Only

Information.

       8.      I hereby submit to the jurisdiction of this court for the purpose of enforcement of

the Order in this action.

Dated: ______________________________

Signature: ___________________________________




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